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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                               ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:05:CR:96
v.
                                                      HON. GORDON J. QUIST
XAVIER JACQUES JACKSON,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed March 22, 2006, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Xavier Jacques Jackson's plea of guilty to Count Eleven of the Second

Superseding Indictment is accepted. Defendant Xavier Jacques Jackson is adjudicated guilty.

       3.      Defendant Xavier Jacques Jackson shall be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: April 5, 2006                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
